                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

    ISABEL ZELAYA, et al.,                           )
                                                     )         Case No. 3:19-cv-62
            Plaintiffs,                              )
                                                     )         Judge Travis R. McDonough
    v.                                               )
                                                     )         Magistrate Judge Christopher H. Steger
    ROBERT HAMMER, et al.,                           )
                                                     )
            Defendants.                              )


                                                  ORDER


           On August 29, 2022, the parties notified the Court by e-mail of their agreement in

   principle to settle the case. In their notice, the parties request that the Court stay all deadlines

   through September 9, 2022, to allow sufficient time to finalize their settlement agreement.

   Accordingly, all matters in this case are hereby STAYED through September 9, 2022.

           SO ORDERED.

                                                   /s/ Travis R. McDonough
                                                   TRAVIS R. MCDONOUGH
                                                   UNITED STATES DISTRICT JUDGE




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